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              NOTE: This order is nonprecedential.


       United States Court of Appeals
           for the Federal Circuit
                     ______________________

                      In re: APPLE INC.,
                            Petitioner
                     ______________________

                            2023-100
                     ______________________

        On Petition for Writ of Mandamus to the United
    States District Court for the Western District of Texas in
    No. 6:21-cv-00984-ADA, Judge Alan D. Albright.
                     ______________________

                 ON PETITION AND MOTION
                    ______________________

                           ORDER
        Upon consideration of Apple Inc.’s unopposed motion
    to dismiss its petition for a writ of mandamus,
        IT IS ORDERED THAT:
        The motion is granted to the extent that the petition
    is deemed withdrawn.
                                     FOR THE COURT

    November 14, 2022                /s/ Peter R. Marksteiner
         Date                        Peter R. Marksteiner
                                     Clerk of Court
